        Case 17-06078-MM7                 Filed 03/19/20          Entered 03/19/20 17:09:45     Doc 382      Pg. 1 of 2
CSD 2062 [05/19/17]
Court Telephone: (619) 557-5620       Court Hours: 9:00am-4:00pm, Monday-Friday
www.casb.uscourts.gov
Richard M Kipperman
P.O. Box 3010
La Mesa, CA 91944-3010
(619) 668-4500
Chapter 7 Trustee



             UNITED STATES BANKRUPTCY COURT
                 SOUTHERN DISTRICT OF CALIFORNIA
            325 West F Street, San Diego, California 92101-6991

In Re


CORE SUPPLEMENT TECHNOLOGY, INC.,
                                                                                    BANKRUPTCY NO.   17-06078-MM-07

                                                                    Debtor.




                       TRUSTEE’S NOTICE OF INTENDED ACTION AND OPPORTUNITY FOR HEARING


TO THE DEBTOR, ALL CREDITORS AND OTHER PARTIES IN INTEREST:

         You are hereby notified that the undersigned Trustee proposes to:


         Compromise or settle the following controversy [description of controversy to be settled and standards for approval of
         a settlement as required by LBR 9019]; or


        Allowance of compensation or reimbursement of expenses by trustee in the amounts indicated below [information
        required by FRBP 2002(c)(2)]; or
               Fees: $
               Costs: $


         Other:

         The Trustee used the services of Richard Bass for IT consulting in April 2018. The Trustee's paid the invoices
         presented for a total of $2,279.09 for services between April 17, 2018 and May 2, 2018.
         By this Notice of Intended Action, the Trustee respectfully requests nunc pro tunc authority to pay $2,279.09 for
         the IT consulting services.




IF YOU OBJECT TO THE PROPOSED ACTION:

1.       You are required to obtain a hearing date and time from the appropriate Courtroom Deputy for the judge
         assigned to this bankruptcy case. Determine which deputy to call by looking at the Bankruptcy Case No. in the caption
         on Page 1 of this notice. If the case number is followed by the letters:

                   -        MM        -         call (619) 557-7407           -   DEPARTMENT ONE (Room 218)
                   -        LA        -         call (619) 557-6594           -   DEPARTMENT TWO (Room 118)
                   -        LT        -         call (619) 557-6018           -   DEPARTMENT THREE (Room 129)
                   -        CL        -         call (619) 557-6019           -   DEPARTMENT FIVE (Room 318)

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2.          Within twenty-one (21)1days from the date of this notice, you are further required to serve a copy of your Declaration
            in Opposition and separate Request and Notice of Hearing [Local Form CSD 11842] upon the undersigned
            Trustee, together with any opposing papers. A copy of these documents must also be served upon the United
            States Trustee at 880 Front Street, Suite 3230, San Diego, CA 92101. The opposing declaration must be signed
            and verified in the manner prescribed by FRBP 9011, and the declaration must :

                      a.       identify the interest of the opposing party; and

                      b.       state, with particularity, the factual and legal grounds for the opposition.

3.          You must file the original and one copy of the Declaration and Request and Notice of Hearing with proof of service
            with the Clerk of the U.S. Bankruptcy Court at 325 West F Street, San Diego, California 92101-6991, no later than
            the next business day following the date of service.

         If you fail to serve your “Declaration in Opposition to Intended Action” and “Request and Notice of Hearing”
within the 21-day1 period provided by this notice, no hearing will take place, you will lose your opportunity for hearing, and
the Trustee may proceed to take the intended action.

Dated: March 19, 2020                                                /S/ Richard M Kipperman
                                                                        Chapter 7 Trustee     Attorney for Chapter 7 Trustee
                                                                      Address: P.O. Box 3010
                                                                               La Mesa, CA 91944-3010

                                                                      Phone No.: (619) 668-4500
                                                                      E-mail:    teresaj@corpmgt.com




1
    Depending on how you were served, you may have additional time for response. See FRBP 9006.

2
 You may obtain Local Form CSD 1184 from the office of the Clerk of the U.S. Bankruptcy Court.




CSD 2062
